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Attorney for Plaintiffs, John and Jean D’Urso

                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY

In re:                                                                     Case No. 12-29086

James Micali and Annmarie Micali                                           Chapter 7

                                            Debtors.


John D’Urso and Jean D’Urso,                                               Adv. Pro. No. 12-01873

                                            Plaintiffs,
                                                                           Hearing Date: 20 March 2018
    v.                                                                                        @ 10:00 a.m.

James Micali and Annmarie Micali,

                                            Defendants.



 CERTIFICATION OF COUNSEL IN SUPPORT OF NOTICE OF MOTION SEEKING
AN ORDER HOLDING THE DEBTORS/DEFENDANTS IN CONTEMPT FOR FAILURE
 TO COMPLY WITH THE PRIOR COURT ORDER, SEEKING SANCTION AGAINST
       THEM FOR NON-COMPLIANCE OF THE PRIOR COURT ORDER
                    AND FOR SUCH OTHER RELIEF


           I, Vincent D. Commisa, of full age, hereby certify and say:

           1.         I am an attorney at law of the State of New Jersey and I represent the

plaintiffs, John D’Urso and Jean D’Urso, in the adversary proceeding entitled “D’Urso v.

Micali”.

           2.         Previously hereto, I filed a Motion on behalf of the plaintiffs seeking a Court

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Order enforcing the Judgment against the debtors/defendants to provide documentation

and other relief. The Court entered an Order setting forth various documents which were

to be provided to the undersigned within ten (10) days of the issuance of the Order which

was entered on 26 January 2018. A copy of which is attached hereto as Exhibit “A.”

           3.         On 26 January 2018, a copy of the Order was sent to the debtors/defendants

at their Toms River, New Jersey, address. I am sure that this is their address since the

Motion was mailed to them at this address. Upon receipt of the Motion, Mr. Micali left a

message on my answering machine on the Saturday after the document was delivered.

Accordingly, I am certain that the Toms River address is a correct address.

           4.         Attached hereto as Exhibit “B” is a cover letter indicating that the Order was

sent via UPS next day air. Attached hereto as Exhibit “C” is the proof of service from UPS

indicating delivery on 29 January 2018.

           5.         Ten (10) days had passed since the debtors/defendants had received the

Court Order requiring them to provide a lengthy list of discovery pursuant to the Court

Order and the agreement between the parties.

           6.         However, on Wednesday, 14 February 2018, around 4:00 p.m., a package

was delivered via USPS Priority Mail with purportedly the intended discovery. Attached

hereto as Exhibit “D” is two spreadsheets showing the missing documentation and the

documentation presented in a detailed format. A review of the documents continues to

show the cavalier attitude of the Micalis since they have not complied with the Court Order

in total and have submitted some bank statements with missing pages and some

documents in duplicate form.

           7.         On Friday, 16 February 2018, a letter was sent to the Micalis regarding the

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deficiencies. On Tuesday, 20 February 2018, a courtesy copy of the letter sent to the

Micalis was emailed to counsel because the package received was mailed from counsel’s

office as evidenced by the envelope.

           8.         The debtors/defendants’ conduct herein is exemplary of their cavalier attitude

towards agreements and in their lack of compliance with a Court Order memorializing the

resolution of the adversary proceeding and the Order herein.

           9.         Since a Judgment has already been entered against the debtors/defendants,

the consequences for their failure to comply with the January 2018 Order are limited at

best.

           10.        Courts have within their disposal various relief for “contempt” one of which

is arrest but that remedy usually does not help with compliance.

           11.        In essence, the relief sought herein is similar to seeking an Order to Enforce

Litigant’s Rights. The Order entered by this Court is in effect an Order enforcing litigant’s

rights and the debtors/defendants having failed to comply with said Order.

           12.        Courts have the right to fashion remedies thereto; however, the plaintiffs have

remained patient throughout the years since this matter was resolved. Now in 2018, the

results are the same.

           13.        In fashioning a remedy, I respectfully suggest that this Court enter an Order

stating that the debtors/defendants herein, James Micali and Annmarie Micali, have

violated plaintiffs’ rights as litigants by violating the Court Order entered by this Court on

26 January 2018 and are to be held in contempt.

           14.        This Court can enter an Order requiring the debtors/defendants to provide

the discovery set forth in the 26 January 2018 Order and, if they fail to comply, then a

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warrant for the debtors/defendants arrest shall issue from this Court without further notice.

However, arrest still does not provide the plaintiffs with documents.

           15.        The very essence of the settlement of a non-dischargeability proceeding

allowed the debtors/defendants to accrue a certain level of income allowing themselves to

live a certain lifestyle albeit minimal. If they achieved higher levels of income, then they

would be required to make payments based upon the non-dischargeability proceeding.

The prior application documents some of the issues in the adversary proceeding which

lead to the resolution thereof.

           16.        The debtors/defendant have received the benefit of a discharge as against

all other creditors and have received the benefit of its agreement over the past four years

with the plaintiffs to allow them to live a certain lifestyle albeit it in their definition “minimal.”

That lifestyle requires them to comply with documentation agreed upon between the parties

in the resolution of that matter.

           17.        Arrest may be the appropriate remedy herein especially since the

debtors/defendants refuse to comply with Court Orders. However, we respectfully request

that the Court enter an Order deeming them to be in violation of a prior Court Order and

subject to contempt and sanctions. This Court should grant them a ten (10) day period

within which to provide all the documentation.

           18.        Simultaneously with the relief suggested in the prior paragraph, the plaintiffs

seek additional relief by serving the within Order upon Wells Fargo Bank who maintains

the checking and savings accounts of the debtors/defendants, the Church that is St.

Clement whereupon Mr. Micali is employed as a Deacon and upon the accountant who has

prepared the tax returns and has in his possession other documentation used to prepare

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the tax returns. The Order will require that these parties forward the documentation to us

since the Micalis continually refuse to provide same.

           19.        With this form of relief, the Court is allowing the debtors/defendants an

opportunity to comply. If they are again delinquent, then the plaintiffs have the option of

serving the Court Order upon the relevant parties wherein they will provide the

documentation as a result of the debtors/defendants’ non-compliance.

           20.        The plaintiffs will continue to pursue the collection of this documentation

especially since the non-compliance raises many issues. Therefore, the Court should

fashion a remedy as against the debtors/defendants which is the only available remedy

to this Court to have the debtors/defendants’ non-compliance subject to Court sanctions.

           21.        Based upon the fact that the Micalis have again refused to comply with

another Court Order, the plaintiffs respectfully request that they be awarded legal fees.

The Affidavit of Services will be attached in a Supplemental Certification prior to the within

Motion.

           I certify that the foregoing statements made by me are true. I am aware that if any

of the foregoing statements made by me are wilfully false, I am subject to punishment.



                                                                             /s/ Vincent D. Commisa
                                                                             Vincent D. Commisa, Esq.
Dated: 22 February 2018




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